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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION

  EMPIRE CORVETTE OF AMERICA, INC.,                    CASE NUMBER: 6:18-cv-26-ORL
  a New York Corporation,
              Plaintiff,

  vs.

  JUST TOYS CLASSIC CARS, LLC,
  a Florida Limited Liability Company,
          Defendants.
  ________________________________________/

                    NOTICE OF PENDENCY OF OTHER ACTIONS

         In accordance with Local Rule 1.04(d), I certify that the instant action:

  ________ IS           related to pending or closed civil or criminal case(s) previously
                        filed in this Court, or any other Federal or State court, or
                        administrative agency as indicated below:
                        ______________________________________________________
                        ______________________________________________________
                        ______________________________________________________
                        ______________________________________________________

  ___X___ IS NOT        related to any pending or closed civil or criminal case filed with
                        this Court, or any other Federal or State court, or administrative
                        agency.

         I further certify that I will serve a copy of this Notice of Pendency of Other
  Actions upon each party no later than fourteen days after appearance of the party.

                              CERTIFICATE OF SERVICE

         I hereby certify that on this 27th day of February, 2018, I electronically filed the
  foregoing with the Clerk of the Court by using the CM/ECF system on DAVID S.
  COHEN, ESQUIRE, Primary E-Mail: david@dscohenlaw.com and Secondary E-Mail:
  admin@dscohenlaw.com.
                                                      ______________________________
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